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                       Appendix A – Allegedly Defamatory Statements


      Challenged Statement 1: Dr. Immanuel is “spreading conspiracy theories on COVID-19
       [and] Trump continues to promote unproven drug hydroxychloroquine.” Compl. ¶ 5.a.
       (Source: the Blizter Report. See Ex. 9.)

      Challenged Statement 2: “Trump promoted a doctor. Watch what she said about demons
       ... Who's medical advice is the President of the United States now promoting? It's not Dr.
       Fauci. Not Dr. Birx. Not even Dr. Redfill from the CDC or the Surgeon General ... No, the
       President is now promoting a doctor whose viral video has been very popular suddenly
       among QAnon conspiracy theorists and COVID deniers. She's a doctor from Houston who
       also believes that women can be physically impregnated by witches in their dreams ….
       [Clip of Dr. Immanuel stating during a sermon that ‘it’s what we call astral sex. That means
       this person is not really a demon or Nephilim. It’s just a human being that’s a witch. And
       they astral project and sleep with people.’] That's Dr. Stella Immanuel who also has a
       ministry who promises on her own YouTube page quote deliverance from spirit husbands
       and spirit wives parentheses incubus and succubus endquote. [Clip of Dr. Immanuel stating
       that ‘I came here to Washington D.C. to tell America: nobody needs to get sick. This virus
       has a cure. It’s called hydroxychloroquine, zinc, and Zithromax. I know people want to
       talk about a mask. Hello? You don’t need mask. There is a cure. I know they don’t want
       to open schools. No – you don’t need people to be locked down. There is prevention and
       there is a cure.’] ... Keeping 'em honest, just medically that is simply not true ... Because
       every wartime President needs a Surgeon General, here again is the candidate that the
       President of the United States retweeted last night. [Clip of Dr. Immanuel stating during a
       sermon that ‘we had a lady right here. She was sitting right there. She had been fantasizing
       about one of the movie stars. When she came to deliverance ground, during prayer, she
       started screaming. Her stomach was full, was pregnant. She started screaming, she was
       tearing off her clothes. She was screaming and screaming, like she was in labor. And she
       said, this thing came out of me. Her stomach deflated. Right here. Real life.’] ... That
       makes you miss Chuck Woolery, doesn't it. This Dr. Immanuel apparently believes that
       lusting after movie stars can conjure demons that can make women physically pregnant
       with demon babies by impregnating them in their dreams ... In any case, why trust him [Dr.
       Fauci] when you can instead trust the person who speaks about succubuses on YouTube.”
       Compl. ¶ 5.b. (Source: the First Cooper Report. See Ex. 9.)

      Challenged Statement 3: “Trump promotes a doctor who has claimed alien DNA was
       used in medical treatments ... She's also made videos saying that doctors make medicine
       using DNA from aliens, and that they're trying to create a vaccine to make you immune
       from becoming religious,' Collins asked. The CNN reporter went on to press Trump: ‘'It's
       misinformation’ ... [Trump's] decision to amplify Immanuel raises fresh questions about
       the administration's messaging and pandemic response. It also gives her ideas a significant
       platform and risks lending credibility to someone who has made a number of dangerous
       claims in the past. On her website and in sermons posted on YouTube, Immanuel – who
       practices medicine at Rehoboth Medical Center, a clinic in Houston, and is the founder of
       the Fire Power Ministries church – has, among other things, claimed that sex with
       ‘tormenting spirits’ is responsible for gynecological problems, miscarriages and
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       impotence. ‘Many women suffer from astral sex regularly. Astral sex is the ability to
       project one's spirit man into the victim's body and have intercourse with it,’ she once
       claimed in a sermon ... While she has alleged that face masks are unnecessary, Immanuel
       appears to be wearing an N95 mask in a video shared on her clinic's Facebook page and
       encourages visitors to the clinic seeking treatment to wear face coverings.” Compl. ¶ 5.c.
       [Source: the Stracqualursi Article. See Ex. 14.]

      Challenged Statement 4: “CNN's Anderson Cooper discusses President Donald Trump's
       response to the coronavirus and a video he retweeted featuring a group of doctors making
       false claims about the coronavirus.” Compl. ¶ 5.d. [Source: the Landing Page. See Ex.
       11.]

      Challenged Statement 5: “Social media giants remove viral video with false coronavirus
       claims that Trump retweeted ... A video featuring a group of doctors making false and
       dubious claims related to the coronavirus was removed by Facebook, Twitter, and
       YouTube after going viral online Monday ... During the press conference, a speaker who
       identifies herself as a doctor makes a number of dubious claims, including that ‘you don't
       need masks’ to prevent spread of the coronavirus, and that recent studies showing
       hydroxychloroquine is ineffective for the treatment of Covid-19 are ‘fake science’
       sponsored by ‘fake pharma companies. This virus has a cure, it's called
       hydroxychloroquine, zinc, and Zithromax,’ the woman claims. ‘You don't need masks,
       there is a cure.’” Compl. ¶ 5.e. [Source: the Passantino Article. See Ex. 15.]

      Challenged Statement 6: “@andersoncooper likens Pres. Trump to a ‘snake oil salesman,’
       saying the ‘President ... is promoting disproven and harmful medical treatments.’ ‘It is
       unconscionable,’ adds Cooper.” Compl. ¶ 5.f. [Source: the Promotional Tweets. See Exs.
       12-13.]

      Challenged Statement 7: “Today, he did have plenty to say about this woman who he has
       praised for her public embrace of hydroxychloroquine. She is a doctor who also preaches
       about astral projection, alien DNA and the sperm of demons. [Clip of Dr. Immanuel stating
       during a sermon that ‘it’s what we call astral sex. That means this person is not really a
       demon or Nephilim. It’s just a human being that’s a witch. And they astral project and
       sleep with people.’] So that is Dr. Stella Immanuel who, when she's not preaching about
       witches and demon sperm and alien DNA, is part of a group of Tea Party sponsored doctors
       advocating for unproven and ... potentially dangerous COVID treatments ... It's now been
       24 hours, though, and if the President did want to know something about this person that
       he is now promoting on a global stage, he has had plenty of time to Google her ... and tell
       him about her and about the demon sex and the astral sex. Hard to imagine this President's
       ears wouldn't perk up with those topics.” Compl. ¶ 5.g. [Source: the Second Cooper
       Report. See Ex. 10.]

      Challenged Statement 8: “The most prominent person featured in the video, Stella
       Immanuel – who has said in the past that DNA from space aliens is being used in medicine
       – did not meet with Pence.” Compl. ¶ 5.h. [Source: the Liptak Article. See Ex. 16.]



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